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IN THE UNITED STATES DISTRICT COUR} A DEPUTY
FOR THE DISTRICT OF MARYLAND

CRIMINAL NO. (JO G1 3-015 3

(Hobbs Act Conspiracy, 18 U.S.C. §
1951(a); Hobbs Act Robbery, 18 U.S.C.
§ 1951(a); Possession of Firearms in
Furtherance of a Crime of Violence, 18
U.S.C. § 924(c); Possession of Firearms
by a Convicted Felon, 18 U.S.C. §
922(g); Aiding and Abetting, 18 U.S.C. §
2)

UNITED STATES OF AMERICA
v.

MICHAEL GWALTNEY,
EDWARD LEE, and
DEVAN MARTIN,

Defendants

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INDICTMENT
COUNT ONE
The Grand Jury for the District of Maryland charges:
On or about December |, 2012, in the District of Maryland, the defendants,
MICHAEL GWALTNEY,
EDWARD LEE, and
DEVAN MARTIN,
did knowingly and willfully combine, conspire, confederate, and agree with each other and with
others known and unknown to the Grand Jury to obstruct, delay, and affect commerce and the
movement of an article and commodity in commerce by robbery, as that term is defined in Title 18,

United States Code, Section 1951(b)(1), by the unlawful taking of the proceeds of Divas and

Delights Hair Salon from the person and presence of the victims.

18 U.S.C. § 1951{a)
 

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COUNT TWO
The Grand Jury for the District of Maryland further charges:
On or about December 1, 2012, in the District of Maryland, the defendants,
MICHAEL GWALTNEY,
EDWARD LEE, and
DEVAN MARTIN,

did obstruct, delay, and affect and attempt to obstruct, delay and affect commerce and the movement
of an article and commodity in commerce by robbery, as that term is defined in Title 18, United

States Code, Section 1951(b){1), by the unlawful taking of the proceeds of Divas and Delights Hair

Salon from the person and presence of the victims.

18 U.S.C. § 1951(a)
18 U.S.C. §2
 

 

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COUNT THREE
The Grand Jury for the District of Maryland further charges:
On or about December 1, 2012, in the District of Maryland, the defendants,
: MICHAEL GWALTNEY,
| EDWARD LEE, and
| DEVAN MARTIN,
did knowingly, intentionally and unlawfully possess firearms, to wit: a Walther, P99, 9mm semi-
automatic handgun, serial number 006913; and a Taurus, .38 caliber revolver, serial number
LG83908, in furtherance of a crime of violence, to wit, conspiracy to violate the Hobbs Act as set

forth in Count One of the Indictment, and Hobbs Act robbery as set forth in Count Two of the

Indictment, both for which they may be prosecuted in a court of the United States.

18 U.S.C. §924(c)
18 U.S.C. §2

 
 

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COUNT FOUR
The Grand Jury for the District of Maryland further charges:
On or about December 1, 2012, in the District of Maryland, the defendants,
MICHAEL GWALTNEY,
EDWARD LEE, and
DEVAN MARTIN,

each having been convicted of a crime punishable by imprisonment for a term exceeding one year,
did knowingly and unlawfully possess firearms, to wit: a Walther, P99, 9mm semi-automatic

handgun, serial number 006913; and a Taurus, .38 caliber revolver, serial number LG83908, in and

affecting commerce.

18 U.S.C. § 922(g)(1)
18U.S.C.§2

 
 

 

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SIGNATURE REDACTED

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FORFEITURE

The Grand Jury for the District of Maryland further charges that:

1. Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the
defendants that the United States will seek forfeiture as part of any sentence in accordance with Title
18, United States Code, Section 924(d), and Title 28, United States Code, Section 2461 (c), as aresult
of the defendants’ convictions under the Indictment.

2. As a result of the offenses alleged in Counts One through Four of this
Indictment, the defendants, :

MICHAEL GWALTNEY,
EDWARD LEE, and
DEVAN MARTIN,

shall forfeit to the United States the firearms identified in Counts Three and Four of this Indictment

and involved in the offenses in Counts One through Four of this Indictment.

18 U.S.C. § 924(d)
28 U.S.C. § 2461(c)

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United States Attorney

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Foreperson

3/20/20/3

Date
